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 6
 7                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
 8                                AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                Plaintiff,     )            CASE NO.      CR06-50JCC
                                 )
12         v.                    )
                                 )
13                               )            DETENTION ORDER
    JOSE RUIZ-VELASQUEZ,         )
14                               )
                Defendant.       )
15 ______________________________)
16 Offenses charged:
17 Count 1:       Conspiracy to Distribute Methamphetamine and Heroin, in violation of
18                Title 21, U.S.C., Sections 841(a)(1), 841(b)(1)(A), and 846;
19 Count 3:       Distribution of Heroin, in violation of Title 21, U.S.C., Section 841(a)(1)
20                and 841(b)(1)(C), and Title 18, U.S.C., Section 2;
21 Count 4:       Distribution of Methamphetamine, in violation of Title 21, U.S.C., Section
22                841(a)(1) and 841(b)(1)(C), and Title 18, U.S.C., Section 2;
23 Count 5:       Distribution of Heroin, in violation of Title 21, U.S.C., Section 841(a)(1)
24                and 841(b)(1)(C), and Title 18, U.S.C., Section 2;
25 Count 6:       Distribution of Methamphetamine, in violation of Title 21, U.S.C., Section
26                841(a)(1) and 841(b)(1)(C), and Title 18, U.S.C., Section 2; and

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 1 Count 7:          Distribution of Heroin, in violation of Title 21, U.S.C., Section 841(a)(1)
 2                   and 841(b)(1)(C), and Title 18, U.S.C., Section 2.
 3 Date of Detention Hearing:       September 26, 2006.
 4            The Court, having conducted an uncontested detention hearing pursuant to Title
 5 18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
 6 detention hereafter set forth, finds that no condition or combination of conditions which the
 7 defendant can meet will reasonably assure the appearance of the defendant as required and
 8 the safety of any other person and the community. The Government was represented by
 9 Adam Cornell. The defendant was represented by John Crowley.
10            The defendant stipulates to detention, reserving the right to re-open the matter of
11 detention at a later date.
12       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
13            (1)    There is probable cause to believe the defendant committed the
14                   conspiracy drug offense. The maximum penalty is in excess of ten years.
15                   There is therefore a rebuttable presumption against the defendant’s
16                   release based upon both dangerousness and flight risk, under Title 18
17                   U.S.C. § 3142(e).
18            (2)    Nothing in this record satisfactorily rebuts the presumption against
19                   release. Using the factors below, under Title 18 § 3142 (g), the Court
20                   considered the following:
21                   (a)    The nature and circumstances of the offense charged, including
22                          whether the offense is a crime of violence or involves a narcotic
23                          drug;
24                   (b)    The weight of the evidence;
25                   (c)    The history and characteristics of the person; and
26                   (d)    Risk of danger to the community.

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 1         (3)   The defendant does not contest detention.
 2         (4)   Based upon the foregoing information, it appears that there is no
 3               condition or combination of conditions that would reasonably assure
 4               future Court appearances and/or the safety of other persons or the
 5               community.
 6         It is therefore ORDERED:
 7         (l)   The defendant shall be detained pending trial and committed to the
 8               custody of the Attorney General for confinement in a correction facility
 9               separate, to the extent practicable, from persons awaiting or serving
10               sentences or being held in custody pending appeal;
11         (2)   The defendant shall be afforded reasonable opportunity for private
12               consultation with counsel;
13         (3)   On order of a court of the United States or on request of an attorney for
14               the Government, the person in charge of the corrections facility in which
15               the defendant is confined shall deliver the defendant to a United States
16               Marshal for the purpose of an appearance in connection with a court
17               proceeding; and
18         (4)   The clerk shall direct copies of this order to counsel for the United
19               States, to counsel for the defendant, to the United States Marshal, and to
20               the United States Pretrial Services Officer.
21         DATED this 29thday of September, 2006.




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                                              Monica J. Benton
25                                            U.S. Magistrate Judge
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